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 1   TRACY L. WILKISON
 2   Acting United States Attorney
     DAVID M. HARRIS
 3   Assistant United States Attorney                         JS-6
 4   Chief, Civil Division
     CEDINA M. KIM
 5
     Assistant United States Attorney
 6   Senior Trial Attorney, Civil Division
 7   PAUL SACHELARI, CSBN 230082
     Special Assistant United States Attorney
 8         Social Security Administration
 9         160 Spear St., Suite 800
           San Francisco, CA 94105
10
           Telephone: (510) 970-4853
11         Facsimile: (415) 744-0134
12
           Email: Paul.Sachelari@ssa.gov
     Attorneys for Defendant
13
14
                          UNITED STATES DISTRICT COURT
15                       CENTRAL DISTRICT OF CALIFORNIA
16                             WESTERN DIVISION
17
     TERRI MIZUTANI,                          ) Case No. 2:20-cv-11156-JPR
18                                            ) ____________
                                              )
19         Plaintiff,                         ) JUDGMENT OF REMAND
                                              )
20                v.                          )
                                              )
21   KILOLO KIJAKAZI, 1                       )
     Acting Commissioner of Social            )
22                                            )
     Security,                                )
23                                            )
                                              )
24         Defendant.
25
26   1
      Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9,
27
     2021. Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo
     Kijakazi should be substituted, therefore, for Andrew Saul as the defendant in this
28   suit. No further action need be taken to continue this suit by reason of the last
     sentence of section 205(g) of the Social Security Act, 42 U.S.C. § 405(g).

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 1         The Court having approved the parties’ Stipulation to Voluntary Remand
 2   Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
 3   (“Stipulation to Remand”) lodged concurrent with the lodging of the within
 4   Judgment of Remand, IT IS HEREBY ORDERED, ADJUDGED AND
 5   DECREED that the above-captioned action is remanded to the Acting
 6
     Commissioner of Social Security for further proceedings consistent with the
 7
     Stipulation to Remand.
 8
 9
     DATED: 10/12/2021
10                                        HON. JEAN P. ROSENBLUTH
11                                        UNITED STATES MAGISTRATE JUDGE
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